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                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                      UNITED STATES DISTRICT COURT
               9                    CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 DDP (PJWx)
                 York non-profit corporation; and      )
              12 COLIN   LeMAHIEU,     an  individual, ) DECLARATION OF WAJEEH
                                                       ) MAHMOOD IN SUPPORT OF
              13             Plaintiffs,               ) PLAINTIFFS NANO
                                                       ) FOUNDATION, LTD. AND COLIN
              14       vs.                             ) LEMAHIEU'S OPPOSITION TO
                                                       ) DEFENDANT DAVID C. SILVER'S
              15 DAVID   C. SILVER,    an individual,  ) MOTION TO DISMISS
                                                       ) COMPLAINT
              16             Defendant.                )
                                                       ) Date: August 5, 2019
              17                                       ) Time: 1:30 p.m.
                                                       ) Judge: Hon. Stephen V. Wilson
              18                                       ) Ctrm: 10A - 10th Floor
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LAW OFFICES
ROSENFELD,                                               1
 MEYER &
SUSMAN LLP                     DECLARATION OF WAJEEH MAHMOOD IN SUPPORT OF PLAINTIFFS'
                   520559.01    OPPOSITION TO DEFENDANT'S MOTION TO DISMISS COMPLAINT
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